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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PHILIPS MEDICAL SYSTEMS
(CLEVELAND), INC.,
Plaintiff,

89-02508-MLW

)
)
)
)
Vv. ) Civ. Nos. 87-02828-MLW
)
THOMAS J. QUINN, )
Defendant. )

MEMORANDUM AND ORDER
WOLF, D.J. June 27, 2025

On August 22, 2016, this court entered an Order permanently
enjoining defendant Thomas J. Quinn from "filing or otherwise
submitting in this court or any other court, any pleading or other
document seeking relief from the judgment in this case, asserting
any claim, or requesting any other relief from this court or any
other court, arising from or relating to the transactions or
occurrences that were the subject of this case." Dkt. No. 621 at
6 (The "2016 Order"). Plaintiff Phillips Medical Systems
Cleveland, Inc. ("Phillips") has filed a motion requesting that
the court find Quinn in civil and/or criminal contempt for alleged
violations of the 2016 Order and similar Orders issued in 2004
(Dkt. No. 564 at 14), and 2011 (Dkt. No. 586). See Dkt. No. 640
(the "Motion"). Phillips filed a memorandum in support of the
Motion describing alleged violations of the 2016 Order in 2019 and

2024 (Dkt. No. 641), and related exhibits (Dkt. No. 641-1).
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Quinn, pro se, has filed an opposition to the Motion (Dkt.
No. 646). Quinn has also filed a motion for damages and other
relief (Dkt. No. 647), which Phillips opposed (Dkt. No. 648).

In the memorandum in support of the Motion Phillips argues
for unspecified "severe sanctions," which discusses them in the
context of cases concerning civil contempt. Dkt. No. 641 at 10.
Phillips does not discuss whether criminal contempt proceedings
should be instituted. Id. However, civil and criminal contempt

serve different purposes. See United States v. Marquardo, 149 F.3d

36, 39 (lst Cir. 1998). "The purpose of civil contempt is to coerce

compliance with an order of the court." Id. (emphasis in original).

"Criminal contempt, on the other hand, is used to punish

disobedience with a judicial order and thus vindicates the

authority of the court." Id. (emphasis in original).
"An individual who refuses obedience to a valid order is
subject to both civil and criminal contempt for the same acts."

United States v. Petito, 671 F.2d 68, 72 (2d Cir. 1982) (citing

Yates v. United States, 355 U.S. 66, 74 (1957)). The evidence

provided by Phillips raises the question of whether it would be
appropriate for the court to initiate criminal contempt
proceedings instead of, or in addition to, civil contempt

proceedings because an order seeking to compel Quinn to obey the
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2016 Order, and/or the 2004 and 2011 Orders, might be futile. See

Shillitani v. United States, 384 U.S. 364, 370 n.9 (1906).

In view of the foregoing, it is hereby ORDERED that:

1. The parties shall, by July 18, 2025, supplement their
submissions concerning the Motion by addressing the question of
what the remedy should be if Quinn is held in civil contempt and,
in any event, whether the court should now initiate criminal
contempt proceedings against Quinn pursuant to 18 U.S.C. § 401 and
Federal Rule of Criminal Procedure 42.

2. Any replies shall be filed by July 30, 2025.

3. A hearing on the pending motions and to address whether
criminal contempt proceedings should now be initiated against
Quinn shall be held on August 19, 2025, at 10:30 a.m., in the John
J. Moakley Courthouse, Boston, MA, and, if necessary, continue

from day to day until concluded.

LEAHY

UNITED STATES DISTRICT

